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                         UNITED STATES DISTRICT COURT
                          DISTRICT OF MASSACHUSETTS
________________________________________________
MICHAEL BUSH; LINDA TAYLOR;                      )
LISA TIERNAN; KATE HENDERSON;                    )
ROBERT EGRI; KATALIN EGRI;                       )
ANITA LOPEZ; MONICA GRANFIELD;                  )
ANN LINSEY HURLEY; IAN SAMPSON;                 )
SUSAN PROVENZANO; and JOSEPH PROVENZANO, )
      pro se Plaintiffs,                        )
                                                )
VS.                                             ) C.A. NO. 1:21-cv-11794-ADB
                                                )
LINDA FANTASIA; MARTHA FEENEY-PATTEN;           )
ANTHONY MARIANO; CATHERINE GALLIGAN;            )
JEAN JASAITIS BARRY; PATRICK COLLINS;           )
DAVID ERICKSON; TIMOTHY GODDARD; and            )
TOWN OF CARLISLE,                               )
      Defendants.                                )

                            LOCAL RULE 7.1 CERTIFICATION

       Undersigned counsel for defendants, Linda Fantasia, Martha Feeney-Patten, Anthony

Mariano, Catherine Galligan, Jean Jasaitis Barry, Patrick Collins, David Erickson, Timothy

Goddard and Town of Carlisle, hereby certifies, pursuant to Local Rule 7.1 (A)(2) and

Fed.R.Civ.P. 26(c)(1), that, on August 16, 2022, he conferred with pro se plaintiffs, Michael Bush,

Robert Egri and Susan Provenzano, in good faith to resolve and/or narrow the issues and disputes

raised in defendants’ Motion to Stay Discovery.
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                             Respectfully submitted,

                             The Defendants,

                             LINDA FANTASIA, MARTHA FEENEY-PATTEN,
                             ANTHONY MARIANO, CATHERINE GALLIGAN,
                             JEAN JASAITIS BARRY, PATRICK COLLINS,
                             DAVID ERICKSON, TIMOTHY GODDARD and
                             TOWN OF CARLISLE,

                             By their Attorneys,

                             PIERCE DAVIS & PERRITANO LLP

                             /s/ John J. Davis
                             ______________________________________
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                             10 Post Office Square, Suite 1100N
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                             (617) 350-0950
                             jdavis@piercedavis.com

Dated: August 19, 2022




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                                 CERTIFICATE OF SERVICE

        I hereby certify that the foregoing, filed through the Electronic Case Filing System, will
be sent electronically to the registered participants as identified on the Notice of Electronic Filing
and that a paper copy shall be served upon those indicated as non-registered participants on
August 19, 2022 as follows:

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                                   /s/ John J. Davis
                                   _________________________
                                   John J. Davis, Esq.




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